









Petition for Writ of Mandamus Denied and Memorandum Opinion filed March
18, 2004









&nbsp;

Petition for Writ of Mandamus Denied and Memorandum
Opinion filed March 18, 2004.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00187-CV

____________

&nbsp;

IN RE ALBIE MERCADO, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On March 3, 2004, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex. R. App. P. 52.&nbsp; 

We deny relator=s petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition Denied
and Memorandum Opinion filed March 18, 2004.

Panel consists of
Justices Yates, Anderson, and Hudson.





